                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                   1:06CR165


UNITED STATES OF AMERICA,                             )
                                                      )
Vs.                                                   )              ORDER
                                                      )
JUAN JOSA LOPEZ.                                      )
                                                      )
                  Defendant.                          )
________________________________________              )


        THIS MATTER is before the court upon Ronald G. Blanchard’s oral motion to withdraw as

counsel for the defendant. Mr. Blanchard is the partner of Attorney Jason R. Hayes who was allowed

to withdraw as the attorney for William Gregory Curtis, who is a co-defendant of the defendant

herein, that being Juan Josa Lopez. For the same reasons as set forth in the order entered allowing

Jason R. Hayes to withdraw, the oral motion of Ronald G. Blanchard to withdraw is hereby allowed.

The court has previously appointed Janna Allison, attorney at law of Waynesville, North Carolina

to represent the defendant and the defendant has advised that he is satisfied with the representation

of Ms. Allison and as a result, Ms. Allison will continue to represent the defendant in this matter.

                                             ORDER

        IT IS THEREFORE ORDERED that the oral motion of Ronald G. Blanchard to withdraw

as counsel in this matter is hereby GRANTED and that Ronald G. Blanchard is relieved from further

representation of the defendant in this matter.
                                                     Signed: November 2, 2006




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